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 7
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 8   BRANT DANIEL
 9

10

11
                           UNITED STATES DISTRICT COURT
12
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14                                          )    Case No. 2:19-CR-0107-KJM
     UNITED STATES OF AMERICA,              )
15                                          )    NOTICE OF MOTION AND
                  Plaintiff,                )    DEFENDANT BRANT DANIEL’S
16                                          )    SECOND MOTION FOR
           vs.                              )    DISCOVERY; MEMORANDUM IN
17                                          )    SUPPORT OF MOTION FOR
     BRANT DANIEL,                          )    DISCOVERY
18                                          )
                  Defendant.                )    Date: TBD
19                                          )    Time: TBD
                                            )    Courtroom: 3
20                                          )    Honorable Kimberly J. Mueller
21
     TO: PHILLIP TALBERT, U.S. Attorney, and JASON HITT, ROSS PEARSON,
22       and DAVID SPENCER, Assistant U.S. Attorneys:
           NOTICE IS HEREBY GIVEN that at a date and time to be determined,
23
     before the Honorable Kimberly J. Mueller, Chief District Judge, the defendant,
24
     Brant Daniel, through counsel, does and will move for an order for discovery under
25
     the Fifth, Sixth, and Eighth Amendments to the U.S. Constitution, Federal Rule of
26

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 1   Criminal Procedure 16, Brady v. Maryland, 373 U.S. 83 (1963), and its progeny as
 2   set forth in the attached Memorandum of Points and Authorities.
 3         This discovery motion is noticed before the district court because it is related
 4   and intertwined with Daniel’s first “pre-authorization” discovery motion, which
 5   the district court granted, in part. ECF No. 824.
 6         This motion is based on the instant motion, exhibits, attached Memorandum
 7   of Points and Authorities, and any evidence or argument before or at the hearing on
 8   this motion.
 9                                          Respectfully submitted,
     DATED: July 22, 2022
10

11                                          /s/ Timothy E. Warriner
                                            TIMOTHY E. WARRINER
12

13                                          /s/ John Balazs
                                            JOHN BALAZS
14

15                                          Attorneys for Defendant
                                            BRANT DANIEL
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                  MEMORANDUM OF POINTS AND AUTHORITIES
 1
     I.    Procedural Background.
 2
           In count one of the Indictment, the government charged Brant Daniel and
 3
     other defendants with conspiring to participate in an Aryan Brotherhood
 4
     racketeering enterprise from October 2011 to June 2019 in violation of 18 U.S.C.
 5
     § 1962(d). As part of the conspiracy, the government also charged Daniel with the
 6
     first-degree murder of Zachary Scott in Salinas Valley State Prison on October 29,
 7
     2016. ECF No. 25, ¶42. In 2017, Daniel pled guilty to second-degree murder in
 8
     connection with the Scott killing in Monterey County Superior Court. He was
 9
     sentenced to 30 years imprisonment.
10
           Daniel has been detained throughout pretrial proceedings in this capital case
11
     in California State Prison-Sacramento. In October 2020, CDCR filed a Rules
12
     Violation Report (RVR) alleging that a correctional officer found a manufactured
13
     weapon in Daniel’s cell after officers purportedly received information from a
14
     confidential informant that Daniel possessed a weapon that he intended to use to
15
     assault or kill a correctional officer. Exhibit A, pp. 2-3. Shortly afterward, CDCR
16   transferred Daniel from the prison’s Short-Term Restricted Housing (STRH) Unit
17   to the Psychiatric Services Unit (PSU), even though Daniel did not meet the
18   criteria for placement in the PSU.1 It was the first time in 26 years in CDCR
19   custody that Daniel had ever been accused of any offense involving violence
20   against an officer.
21         In January 2021, Daniel filed a motion to transfer him from the PSU to
22   another detention facility to protect him from retaliation from prison authorities.
23

24

25   1     The PSU is a segregated housing unit for inmates diagnosed with severe
     psychiatric disorders. 15 Cal. Code of Reg. § 3341.2.
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 1   ECF No. 703. 2 At the same time, the defense filed a first motion for discovery of
 2   officer misconduct at CSP-Sacramento state prison under Brady v. Maryland, 373
 3   U.S. 83 (1963), Federal Rule of Criminal Procedure 16, and other authorities. ECF
 4   No. 702. Daniel argued that known evidence that a group of rogue CSP-
 5   Sacramento officers have threatened or assaulted inmates, have fabricated evidence
 6   and planted weapons and drugs on inmates, and have falsified reports is material to
 7   show why the Department of Justice should not use the unreliable RVR allegations
 8   in its decision whether to seek the death penalty against Daniel in this case. The
 9   government opposed the motion (ECF No. 708), but it acknowledged at the

10   hearing that the RVR discipline allegations are not “off the table” with respect to

11   the DOJ’s decision whether to seek the death penalty against Daniel. Exhibit B,

12
     Reporter’s Transcript, 5/3/21, p. 16. CDCR has still not held any hearing on the

13
     disciplinary violation charge and the Sacramento County District Attorney has not

14
     charged Daniel with any offense based on the incident.

15
           In its July 2021 order, the Court granted several of Daniel’s discovery
     requests, finding that the requested items are “material” to rebutting the RVR
16
     allegations and “within the government’s possession, custody, or control” under
17
     Rule 16(a)(1)(E)(i). ECF No. 824. The Court also concluded that in general
18
     “Brady does not require the government to disclose evidence in time for a pre-
19
     authorization presentation by the defense.” Id. at 7. Nonetheless, the Court noted
20
     that it “may sometimes be prudent to order ‘accelerated discovery’ of information
21
     required by Brady so that the defense can review that information before a pre-
22
     authorization presentation.” Id., citing United States v. Ortiz, No. 12-0119, 2012
23
     WL 5379512, at *4 (N.D. Cal. Oct. 31, 2012). The Court also stated that, upon
24

25
     2     Before that motion was decided, CDCR transferred Daniel out of the PSU
26   and back to the STRH unit.
                                               4
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 1   request, it may be appropriate for the Court to order such discovery under its
 2   “inherent discovery to manage discovery in criminal cases” under United States v.
 3   W.R. Grace, 526 F.3d 499, 508-09 (9th Cir. 2008). After Daniel moved to compel
 4   discovery pursuant to the Court’s order, ECF No. 960, the CDCR provided defense
 5   counsel some limited discovery responsive to the Court’s order.
 6         In November 2021, the government informed counsel that it may seek
 7   authorization from the Attorney General to seek the death penalty against Daniel
 8   and invited counsel to make a written submission bearing on its decision. On
 9   February 25, 2022, defense counsel provided local prosecutors an initial

10   submission on why the government should not seek the death penalty against

11   Daniel. See DOJ Manual 9-10.140(D)(1), (8). Since then, the defense has not

12
     received any information on the status of the DOJ’s death-authorization decision.

13
           In this motion, Daniel seeks further discovery bearing on the government’s

14
     pending death-authorization decision. A jury trial is set for March 20, 2023.

15
     II.   The Court should order the government to produce deceased CDCR
           whistleblower Kevin Steele’s memoranda and other discovery
16         concerning CDCR’s October 2020 Rules Violation Report against
           Daniel under Brady, the Fifth, Sixth, and Eighth Amendments, and
17
           Federal Rule of Criminal Procedure 16(a)(1)(E)(i).
18
           A.     Federal Rule of Criminal Procedure 16(a)(1)(E)(i)3
19
           “Rule 16 permits discovery that is relevant to the development of a possible
20
     defense.” United States v. Mandel, 914 F.2d 1215, 1219 (9th Cir. 1990), citing
21
     3     Federal Rule of Criminal Procedure 16(a)(1)(E)(i) provides:
22

23
           (E) Documents and Objects. Upon a defendant’s request, the
           government must permit the defendant to inspect and copy or
24         photograph books, papers, documents, data, photographs, tangible
25
           objects, buildings or places, or copies or portions of any of these
           items, if the item is within the government’s possession, custody, or
26         control and: (i) the item is material to preparing the defense; . . . .
                                               5
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 1   United States v. Clegg, 740 F.2d 16, 18 (9th Cir. 1984). “A defendant who
 2   requests discovery under Rule 16(a)(1)(E)(i) ‘must make a prima facie showing of
 3   materiality.’” Order, ECF No. 824, at 12, quoting Mandel, 914 F.2d at 1219.
 4   Although the defendant must make a showing of materiality, “[m]ateriality is a
 5   ‘low threshold; it is satisfied so long as the information . . . would have helped’ to
 6   prepare a defense.” United States v. Soto-Zuniga, 837 F.3d 992, 1003 (9th Cir.
 7   2016) (quoting United States v. Hernandez-Meza, 720 F.3d 760, 768 (9th Cir.
 8   2013)).
 9         “Evidence is material within the meaning of Rule 16 ‘if it could be used to

10   counter the government’s case or to bolster a defense . . . .” United States v.

11   Wilson, No. 1:19-CR-0155, 2021 U.S. Dist. Lexis 25671(W.D. N.Y. Feb. 10,

12
     2021), at *14 (quoting United States v. Stevens, 985 F.2d 1175, 1180 (2d Cir.

13
     1993)). “Information that is not exculpatory or impeaching may still be relevant to

14
     developing a possible defense.” United States v. Muniz-Jaquez, 718 F.3d 1180,

15
     1183 (9th Cir. 2013). Even inculpatory evidence may be “material” because “[a]
     defendant who knows the government has evidence that renders his planned
16
     defense useless can alter his trial strategy. Or he can seek a plea agreement instead
17
     of going to trial.” Id.
18
           B.     Brady Law
19
           In Brady v. Maryland, the Supreme Court held that “the suppression by the
20
     prosecution of evidence favorable to the accused . . . violates due process where
21
     the evidence is material either to guilt or punishment, irrespective of the good faith
22
     or bad faith of the prosecution.” 373 U.S. 83, 87 (1963) (emphasis added). The
23
     Brady rule encompasses impeachment material, as well as exculpatory evidence.
24
     United States v. Bagley, 473 U.S. 667, 676-77 (1995); United States v. Henthorn,
25
     931 F.3d 29 (9th Cir. 1990).
26

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 1         The prosecution’s duty to disclose includes any favorable evidence that
 2   could be used in “obtaining further evidence.” Giles v. Maryland, 386 U.S. 66, 74
 3   (1968). Favorable evidence need not be competent evidence or evidence
 4   admissible at trial so long as it is material to the preparation of the defense. Sellers
 5   v. Estelle, 651 F.2d 1074, 1077 n.6 (5th Cir. 1981); see DOJ Justice Manual, § 9-
 6   5.001(C)(3) (explaining that the government must disclose exculpatory and
 7   impeachment “information regardless whether the information subject to
 8   disclosure would itself constitute admissible evidence”).
 9         Under the Brady rule, the prosecution “has a duty to learn of any favorable

10   evidence known to others acting on the government’s behalf in the case, including

11   the police.” Kyles v. Whitley, 514 U.S. 419 (1995). “Because prosecutors are in a

12
     ‘unique position to obtain information known to other agents of the government,’

13
     they have an obligation to ‘disclose what they do not know but could have

14
     learned.’” United States v. Bruce, 984 F.3d 884, 896 (9th Cir. 2021) (quoting

15
     United States v. Cano, 934 F.3d 1002, 1023 (9th Cir. 2019)). “Prosecutors cannot
     turn a blind eye to their discovery obligations.” Id.
16
           This is particularly important in capital cases. As this Court has noted, “the
17
     Supreme Court has ‘consistently required capital proceedings to be policed at all
18
     stages by an especially vigilant concern for procedural fairness and for the
19
     accuracy of factfinding.’” ECF No. 274 (quoting Strickland v. Washington, 466
20
     U.S. 668, 704 (1984)); see also Woodson v. North Carolina, 462 U.S. 280, 305
21
     (1976) (“because there is a qualitative difference between death an any other
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     permissible form of punishment, ‘there is a corresponding difference in the need
23
     for reliability in the determination that death is the appropriate punishment in a
24
     specific case”).
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 1         C.    Discovery Request
 2         The defense requests the following discovery bearing on the government’s
 3   decision whether to seek the death penalty against Daniel:
 4      1. Any and all memoranda, reports, emails, correspondence, or other
           documents by now deceased, former CDCR whistleblower Kevin Steele to
 5         the CDCR Director, CDCR Secretary, the CSP-Sacramento Warden, the
           Sacramento County District Attorney’s Office, the FBI, the U.S. Attorney’s
 6         Office, or other investigating official or agency regarding:
 7               (a) the incidents alleged in the Oct. 2020 RVR (Exh. A. pp. 2-3);
 8
                  (b) CSP-Sacramento corrections officers planting weapons on inmates
 9         or in their cells in the Short-Term Restricted Housing (STRH) Unit during
           the period Daniel has been detained there after the indictment in this case
10
           (June 2019 to the present), including but not limited to the weapon allegedly
11         found in Daniel’s cell;
12
                  (c) CSP-Sacramento officers in the STRH unit falsifying documents
13         and evidence or committing other serious acts of misconduct during the
           post-indictment period Daniel has been detained there; and
14

15                (d) CSP-Sacramento officers twice seizing weapons from another
           inmate in Daniel’s unit shortly before the Oct. 2020 RVR incident but failing
16         either to write a report or submit a disciplinary charge against the
17         inmate. This is relevant to show how CDCR officers had weapons available
           to potentially plant in other inmates’ cells, including Daniel’s cell.
18

19      2. Any and all written reports, statements, or documents by officer Ramirez or
           officer Lee regarding the search of Daniel’s cell and/or the incidents alleged
20         in the Oct. 2020 RVR.
21
        3. Any and all information, reports, statements, correspondence, or other
22         documents in the government’s possession (including CDCR) that tends to
23
           cast doubt on the allegations against Daniel in the Oct. 2020 RVR.

24         D.    The Requested Information and Materials are Discoverable.
25         First, the requested discovery should be disclosed because it is “material to
26   preparation of the defense” under Federal Rule of Criminal Procedure
                                              8
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 1   16(a)(1)(E)(i). In its prior discovery order, the Court held that the information
 2   Daniel requested would be material if it could be used to rebut the RVR allegations
 3   as it bears on the death-authorization decision. ECF No. 824, at 13 (“Information
 4   is thus ‘material’ under Rule 16(a)(1)(E)(i) if Daniel can make a prima facie
 5   showing that it will help him show he poses no danger to others and respond to
 6   arguments that he has a history of infractions or offenses.”). The Court also stated
 7   that information about whether officers permitted other inmates in the prison to
 8   possess weapons or attempted to cover up another inmate’s weapon possession
 9   would be material to Daniel’s defense if the request is appropriately limited in time

10   and location. Id. at 14. The requested discovery satisfies this standard as the

11   discovery request seeks information concerning only the prison’s Short-Term

12
     Restricted Housing Unit while Daniel has been housed there after the indictment in

13
     this case.

14
           The requested discovery is also exculpatory with respect to sentencing under

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     Brady and its progeny. Although the Court had ruled that “Brady does not require
     the government to disclose evidence in time for a pre-authorization presentation by
16
     the defense, the Court also emphasized that it has “inherent authority to manage
17
     discovery in criminal cases and to ensure the parties conduct appropriate
18
     discovery.” Id. at 7, citing United States v. W.R. Grace, 526 F.3d 499, 508-09 (9th
19
     Cir. 2008). As a result, the Court noted that “it may sometimes be prudent to order
20
     ‘accelerated discovery’ of information required by Brady so that the defense can
21
     review that information before a pre-authorization presentation.” Id. at 7. This is
22
     the case here. The defense has received no notice that the DOJ has reached a
23
     decision on whether to seek the death penalty. In addition to Rule 16, the Court
24
     thus should order the requested discovery required by Brady under its inherent
25
     powers to control discovery.
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 1         Nor can the government argue this is a fishing expedition. This discovery
 2   request seeks known memoranda authored by Kevin Steele, a former CDCR
 3   investigating services unit officer. After Sgt. Steele’s death, the Sacramento Bee
 4   reported:
 5         Earlier this year, Steele wrote memos to the prison’s warden and the
           state corrections secretary in which he relayed allegations that officers
 6         in his unit had planted weapons and drugs, and falsified documents.
           The Sacramento Bee obtained the memos after his death.
 7

 8                                            ***
           The allegations in Steele’s memos, and his previously confidential
 9         statements to attorneys, paint a broader picture of misconduct inside
           the prison known as New Folsom than has been reported.
10
                                              ***
11
           The state, meanwhile, is investigating members of Steel and
12         Rodriguez’s former unit. Ten officers from the unit are facing
           discipline in an inquiry related to Rodriguez’s death, CDCR
13         spokewoman Dana Simas said in an email, and the entire unit has
           been replaced.
14

15                                            ***
           [Steele] said Rodriguez told him some ISU officers were planting
16         drugs and weapons on inmates. Officers planted the items late in the
           afternoons “in an effort to have to work overtime hours to finish the
17         reports,” Steele said in his memos, citing Rodriguez.

18         Rodriguez died Oct. 21, 2020. Steele met with Lynch the next day,
           according to his February memo to Allison, the corrections secretary.
19
     Exhibit C, Sacramento Bee, Oct. 6, 2021, “Exclusive: California correctional
20
     officer alleged cover-ups in prison killings before his death.”
21
           Moreover, after reviewing the report and other evidence regarding the
22
     October 2020 disciplinary charge against Daniel, Steele advised a Sacramento
23
     County Deputy District Attorney that he believed the allegation against Daniel was
24
     not credible. See Declaration of Counsel in Support of Defendant Brant Daniel’s
25
     First Motion for Discovery Under Seal, ¶7.
26

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 1         Further, officer Ramirez’s report of searching Daniel’s cell himself and
 2   personally finding a weapon is inconsistent with later statements. Officer Ramirez
 3   initially reported that after receiving information from a confidential informant”: “I
 4   immediately had DANIEL removed from his assigned cell” and “I conducted a
 5   search for the inmate manufactured weapon.” Exh. A, Rules Violation Report,
 6   10/15/2020, p. 2. Officer Ramirez added, “I utilized a hand held metal-detector”
 7   and “I opened the mattress and located” the weapon. Id. But when Daniel
 8   disputed the disciplinary charge as false and explained that officer Lee rather than
 9   officer Ramirez searched his cell, officers Ramirez and Lee then claimed that they

10   searched Daniel’s cell together. Exh. A, p. 4. Based on the Sacramento Bee’s

11   article and other information, the defense believes that officers Ramirez and Lee

12
     have been demoted after this incident.

13
           Given that this is a potential capital case against Daniel, the defense is

14
     entitled to present through the Department of Justice’s death penalty review

15
     process or at a potential penalty phase “any factors in the defendant’s background,
     record or character or any other circumstance of the offense that mitigate against
16
     imposition of the death sentence.” 18 U.S.C. § 3592(a)(8)); McClesky v. Kemp,
17
     481 U.S. 279, 306 (1987) (explaining that the jury must be allowed to consider
18
     “any relevant circumstance that could cause it to decline to impose the [death]
19
     penalty”). This includes information that may rebut a disciplinary charge
20
     supporting a potential aggravating factor, such as a defendant’s future
21
     dangerousness or prison disciplinary history. Under the Department of Justice’s
22
     Manual, “[e]xculpatory information, regardless of whether information is
23
     memorialized, must be disclosed to the defendant reasonably promptly after
24
     discovery.” U.S. DOJ Manual, 9-5.002, Step 3, B. Counsel seek the information
25
     requested in this motion to supplement its initial mitigation submission with
26

                                               11
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 1   respect to a pending death-authorization decision. The Court thus should order the
 2   government to provide the requested discovery under Rule 16, Brady, and the other
 3   authorities cited in this motion.
 4

 5                                       III. Conclusion
 6         For these reasons, the Court should grant defendant Brant Daniel’s motion
 7   for discovery as set forth above.
                                             Respectfully submitted,
 8
     DATED: July 22, 2022
 9
                                             /s/ Timothy E. Warriner
10
                                             TIMOTHY E. WARRINER
11
                                             /s/ John Balazs
12
                                             JOHN BALAZS
13
                                             Attorneys for Defendant
14                                           BRANT DANIEL
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